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                                                      July 1, 2024

 VIA ECF
 The Honorable Mary Kay Vyskocil
 United States District Court
 Southern District of New York
 500 Pearl St., Room 2230
 New York, New York 10007
                Re:     Kimberlee DePuy v. Offit Kurman., et al.
                        Civ. No.: 1:23-cv-10961-MKV: Request to Adjourn Conference
 Dear Judge Vyskocil:
         The undersigned represents Plaintiff Kimberlee DePuy (“Plaintiff”), in the above-
 referenced matter, and writes jointly with Defendants to request that the conference scheduled for
 July 10, 2024, be adjourned until the Parties have had an opportunity to participate in mediation.
 The Parties are in the process of selecting a mediator and date and believe that staying discovery
 will aid in the Parties’ attempt to resolve the matter.
        We thank the Court for its time and attention to this matter.
                                                      Respectfully submitted,
                                                      GODDARD LAW PLLC
                                                      /s/ Siobhan Klassen
                                                      By: Siobhan Klassen, Esq.




The conference scheduled for July 10, 2024 is hereby adjourned sine die pending
the parties' anticipated mediation conference. Within 3 days of any mediation
conference, the parties shall file on the docket a joint letter advising the Court of
the status, not substance, of mediation. SO ORDERED.

                7/2/2024
